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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

                                     )     No. 24-08277
                                     )     Judge Timothy A. Barnes
                                     )
            Debtor(s).               )     Chapter 7




                                                  /s/ Vaughn White
                                                  Vaughn White
                                                  VW LAW LLC
                                                  Attorney for Debtor(s)
                                                  1755 Park St, Suite 200
                                                  Naperville, IL 60563
                                                  312-888-0131
                                                  ARDC # 6198291
                                     1
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                                     /s/ Vaughn White
                                     Vaughn White




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                                Document     Page 3 of 5


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                      )
                                                      )      Case No.        24-08277
                                                      )
                Debtor(s)                             )
                                                      )

  MOTION TO EXTEND TIME TO FILE DEBTOR’S REQUIRED SCHEDULES,
    DECLARATIONS, STATEMENTS, PLAN AND OTHER DOCUMENTS




       1. On June 4, 2024 Debtor filed a Chapter 7 Petition.

       2. Debtor’s filing was a deficient filing, which was missing Schedules,

          Declarations, Statements, and other documents.

       3. Debtor’s’ Schedules, Declarations, Statements, and other documents would,
         in
absence of this motion be due on June 18, 2024.

       4. Debtor and Debtor’s Counsel need additional time to gather information and

review the Schedules, Declarations, Statements, and other required documents before they

can be filed.

                5. Debtor, therefore, respectfully requests additional time be granted to July

  2, 2024, to file Debtor’s Schedules, Declarations, Statements, Plan and other documents.




       WHEREFORE, Debtor prays for the following relief:

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      A. That Debtor be granted until July 2, 2024, to file Debtor’s Schedules,

         Declarations, Statements, Plan and other documents; and

      B. For such other and further relief as this Court deems equitable and just.



                                                           Respectfully Submitted,


                                                           /s/ Vaughn A. White
                                                           Vaughn A. White
                                                           Attorney for Debtor


Vaughn A. White
Illinois ARDC # 6198291
VW LAW LLC
Attorney for Debtor(s)
1755 Park St., Suite 200
Naperville, IL 60563
312-888-0131
vaughn@vaughnwhite.com




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Label Matrix for local noticing                      U.S. Document
                                                          Bankruptcy Court Page 5 of 5                    Americash Loans LLC
0752-1                                               Eastern Division                                     BO Box 1728
Case 24-08277                                        219 S Dearborn                                       Des Plaines, IL 60017
Northern District of Illinois                        7th Floor
Eastern Division                                     Chicago, IL 60604-1702
Mon Jun 17 20:39:45 CDT 2024
Amex                                                 Midland Credit Mgmt                                  Migdal Law Group, LLP
American Express                                     Attn: Bankruptcy                                     29 E Madison St Ste 1200a
PO Box 981540                                        PO Box 939069                                        Chicago, IL 60602-4542
El Paso, TX 79998-1540                               San Diego, CA 92193-9069


NCB Management Services                              (p)PORTFOLIO RECOVERY ASSOCIATES LLC                 The Bureaus Inc
Attn: Bankruptcy 1 Allied Drive                      PO BOX 41067                                         Attn: Bankruptcy Attn: Bankruptcy
Trevose, PA 19053-6945                               NORFOLK VA 23541-1067                                650 Dundee Rd , Ste 370
                                                                                                          Northbrook, IL 60062-2757


US Small Business Administration                     Verizon Wireless                                     Gregg Szilagyi
409 3rd St Sw                                        500 Technology Dr 599                                209 S LASALLE ST
Washington, DC 20416-0011                            Saint Charles, MO 63304-2225                         Suite 950
                                                                                                          Chicago, IL 60604-1459


Patrick S Layng                                      Vaughn A White                                       Willie D Dotson
Office of the U.S. Trustee, Region 11                Vw Law LLC                                           5020 W Division St
219 S Dearborn St                                    1755 Park St                                         Chicago, IL 60651-3017
Room 873                                             Suite 200
Chicago, IL 60604-2027                               Naperville, IL 60563-8404



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Portfolio Recovery Associates, LLC                   End of Label Matrix
Attn: Bankruptcy 120 Corporate Boulevard             Mailable recipients    14
Norfolk, VA 23502                                    Bypassed recipients     0
                                                     Total                  14
